993 F.2d 1542
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Randall Gene YOUNG, Plaintiff-Appellant,v.Darnley HODGE;  John Giangola;  Nurse Wolfe;  Sharon Shiley,Defendants-Appellees.
    No. 93-6329.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 28, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-92-170-R)
      Randall Gene Young, Appellant Pro Se.
      Colin James Steuart Thomas, III, Timberlake, Smith, Thomas &amp; Moses, P.C., Staunton, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Randall Gene Young appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Young v. Hodge, No. CA-92-170-R (W.D. Va.  Mar. 11, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    